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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                              §
THE DAILY WIRE, LLC, et al.,                  §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §    Case No. 6:23-cv-609-JDK
                                              §
UNITED STATES DEPARTMENT OF                   §
STATE, et al.,                                §
                                              §
        Defendants.                           §
                                              §

          ORDER GRANTING MOTIONS FOR ADDITIONAL PAGES AND
                        EXTENSIONS OF TIME
         Before the Court are Plaintiffs’ unopposed motion for leave to exceed the page

 limit in their preliminary injunction motion (Docket No. 10) and the parties’ joint

 motion to extend certain response and reply deadlines (Docket No. 16). The Court

 GRANTS both motions.

         Plaintiffs’ motion for a preliminary injunction is accepted as filed (Docket

 No. 11). And the Court ORDERS that the following schedule govern Defendants’

 motion to transfer (Docket No. 14) and Plaintiffs’ motion for preliminary injunction

 (Docket No. 11):

                March 15, 2024 – Deadline for Plaintiffs’ opposition to Defendants’
                 motion to transfer and Defendants’ opposition to Plaintiffs’ motion for
                 preliminary injunction;

                April 5, 2024 – Deadline for Defendants’ reply in support of their motion
                 to transfer venue and Plaintiffs’ reply in support of their motion for
                 preliminary injunction.




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     Signed this
     Feb 14, 2024




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